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Admitted in NY and NJ


VIA ECF

The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007                                                 November 5, 2020

                       Re: United States v. Adams
                           Docket # 20 Cr 494

. Dear Judge Gardephe,
   Please be advised that I represent Mr. Adams on the above captioned indictment before the
Court having been duly appointed on October 5, 2020, as counsel pursuant to the Criminal
Justice Act (“CJA”), Title 18 U.S.C. § 3006A(B). Pursuant to CJA Section 3006 (e) (1), I
respectfully submit this letter to request authorization for appointment of Lloyd Epstein to assist
in the representation of Mr. Adams in this case. This case involves allegations of public
corruption. The case received considerable media coverage at the time of Mr. Adams’s arrest.
My preliminary review of the discovery indicates to me there will be considerable investigative
work and substantial document collection.


I have met with Mr. Adams and we expect this case to proceed to a jury trial. The prosecution
team currently has two very capable prosecutors and a number of agents preparing this case. I
ask this Court to assigned Lloyd Epstein as co-counsel to assist me on this case. "Mr. Epstein is a
longtime member of this District's CJA panel." Mr. Epstein and I have collaborated on cases for
many years. Most recently we litigated a case before the Honorable William Pauley in USA v.
James Felton (17 Cr 21).
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I thank the Court for any and all consideration in this request.




                                                              Respectfully submitted,


                                                      By:     //Samuel Gregory//
